      Case 1:21-cr-00175-TJK          Document 1057          Filed 01/28/25    Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA

       v.                                            Criminal Action No. 21-175 (TJK)

ETHAN NORDEAN et al.,

               Defendants.


                                  MEMORANDUM ORDER

       After the defendants in this case were convicted by a jury of serious crimes relating to the

attack on the U.S. Capitol on January 6, 2021—most but not all were convicted of seditious con-

spiracy—the Court sentenced them to substantial terms of imprisonment followed by supervised

release. On January 20, 2025, President Trump commuted most of their sentences to time served,

alongside pardoning many others convicted of January 6-related offenses, and they were released

from incarceration. Three defendants whose sentences were commuted—Joe Biggs, Zach Rehl

and Dominic Pezzola—now move to dismiss the terms of their supervised release. ECF No. 1055.

The United States has not weighed in on their request, but it filed a motion seeking similar relief

in another case before Judge Mehta. See United States v. Rhodes III et al., No. 22-cr-15, ECF No.

941 (Jan. 24, 2025). For the same reasons explained by Judge Mehta in that case, the Court will

also deny these defendants’ motion to the extent it seeks “dismissal” of those terms, because their

original sentences remain intact despite the commutation. 2025 WL 309111, at *4 (D.D.C. Jan.

27, 2025). Still, as Judge Mehta also clarified, because the Executive Branch has reasonably in-

terpreted the non-custodial portion of their sentences to have been commuted and so will not en-

force them, the Court recognizes that these defendants are effectively no longer subject to the

court-imposed conditions of supervised release. Id. at *3.
      Case 1:21-cr-00175-TJK          Document 1057        Filed 01/28/25      Page 2 of 3




       Article II of the Constitution gives the President “broad power” to grant federal pardons

and commute federal sentences to reduce those punishments. Schick v. Reed, 419 U.S. 256, 266

(1974). The President may “commute sentences in whole or in part,” Dennis v. Terris, 927 F.3d

955, 957–58 (6th Cir. 2019), and thereby “lesse[n] punishment” for the crime of conviction,

Schick, 419 U.S. at 265 (Ex parte Wells, 59 U.S. 307, 315 (1855)). Unless “the commutation itself

violates the Constitution,” courts may not interfere with it. Dennis, 927 F.3d at 959; see Schick,

419 U.S. at 264, 266–67. A commutation, despite its effect, not only “leaves the conviction in

place,” Rosemond v. Hudgins, 92 F.4th 518, 525 n.5 (4th Cir. 2024), but it also keeps “intact” the

“original judicial sentence,” and the defendant “continues to be bound” by it. Dennis, 927 F.3d at

958, 960. As Judge Mehta explained in Rhodes, a “commutation does not . . . create an ‘executive

sentence.’” 2025 WL 309111, at *2 (quoting Andrews v. Warden, 958 F.3d 1072, 1077 (11th Cir.

2020)). Rather, it merely “abridges the enforcement” of the judicially imposed sentence. United

States v. Benz, 282 U.S. 304, 311 (1931). So the Court agrees with Judge Mehta that, whatever

the effect of President Trump’s commutation, the defendants’ original sentences, including their

terms of supervised release and attendant conditions, “‘remain[] intact,’” and thus “‘dismiss[ing]’

their supervised release terms . . . is not appropriate.” Rhodes, 2025 WL 309111, at *3.

       Still, the question remains whether President Trump’s commutation reaches the terms of

these defendants’ supervised release and thereby “abridges [their] enforcement.” Benz, 282 U.S.

at 311. Again, the Court agrees with Judge Mehta that the Eleventh Circuit’s decision in Andrews

provides a useful analytical template. And applied here, it backs up these defendants’ point, also

advanced by the United States in Rhodes, that the Executive Branch’s interpretation of the Procla-

mation issued by President Trump as extending to the terms of supervised release is reasonable.




                                                2
      Case 1:21-cr-00175-TJK         Document 1057        Filed 01/28/25      Page 3 of 3




The Proclamation states that President Trump “commute[s] the sentences” of these defendants to

“time served.”1 And a “sentence” refers “not only to the term of imprisonment” but “to all sanc-

tions imposed for a crime,” including “supervised release.” Andrews, 958 F.3d at 1080; see United

States v. Haymond, 588 U.S. 634, 648 (2019) (“[A] term of supervised release . . . constitutes a

part of the final sentence[.]”). Unlike “recent clemency” orders, which “have been explicit” about

“commut[ing] only the custodial portion of a sentence,” President Trump’s Proclamation places

no such limits on the commutation of the defendants’ sentences. Rhodes, 2025 WL 309111, at *3.

The “unconditional quality of President Trump’s Proclamation thus can reasonably be read to ex-

tinguish enforcement of [the defendants’] terms of supervised release.” Id.

       Thus, it is hereby ORDERED that the defendants’ motion to dismiss the terms of their

supervised release, ECF No. 1055, is DENIED. Even so, the Court recognizes that the conditions

of supervised release imposed on these defendants will not be enforced because President Trump

commutated their sentences, including their terms of supervised release.



                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge

Date: January 28, 2025




       1
         Granting Pardons And Commutation Of Sentences For Certain Offenses Relating To The
Events At Or Near The United States Capitol On January 6, 2021 (Jan. 20, 2025),
https://www.whitehouse.gov/presidential-actions/2025/01/granting-pardons-and-commutation-
of-sentences-for-certain-offenses-relating-to-the-events-at-or-near-the-united-states-capitol-on-
january-6-2021/ (last visited Jan. 28, 2025).



                                                3
